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     ORDERED in the Southern District of Florida on October 23, 2019.




                                                               Robert A. Mark, Judge
                                                               United States Bankruptcy Court
_____________________________________________________________________________
                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION

   IN RE:
                                                              CASE NO.: 19-21168-RAM
                                                              Chapter: 13
   William David Sullivan, II,

         Debtor.
   _____________________________/

                        AGREED ORDER GRANTING SECURED CREDITOR’S, MIKON
                 FINANCIAL SERVICES, INC., MOTION FOR PROSPECTIVE RELIEF FROM STAY

            THIS CASE came before the Court on October 22, 2019 at 9:00am, on Secured Creditor’s,

  MIKON FINANCIAL SERVICES, INC. (“CREDITOR”), Motion for Prospective Relief from Stay (Doc.

  26) (the “Motion”), and the Court having reviewed the Motion, the file, and being advised that

  CREDITOR and Debtor, WILLIAM DAVID SULLIVAN, II (“DEBTOR”), are in agreement, and being

  otherwise fully advised in the premises, it is hereby:

            ORDERED and ADJUDGED as follows:

            1.      The Motion is GRANTED IN PART.
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       2.      The automatic stay imposed by the filing of the instant case on August 21, 2019

has expired, as the DEBTOR did not timely file a motion to extend the stay.

       3.      As such, there is no automatic stay currently in effect.

       4.      Notwithstanding the foregoing, pursuant to the agreement of the CREDITOR and

DEBTOR, the DEBTOR shall be permitted to continue with the instant Ch. 13 bankruptcy case;

CREDITOR agrees to have its claim treated through the Chapter 13 Plan and to stay any state

court action to enforce its claim, as long as the instant case is not dismissed, or converted to a

Chapter other than 13.

       5.      However, in the event that the instant bankruptcy case is dismissed or is

converted to a Chapter other than 13, then CREDITOR shall be deemed to have been granted

prospective stay relief, for a period of 18 months from the entry of a dismissal or conversion

order, so that CREDITOR may pursue its in rem remedies against the property currently owned

by the DEBTOR located in Miami-Dade County, Florida and more particularly described as

follows:

               LOT 5, BLOCK 1, OF WEST LITTLE RIVER ANNEX, ACCORDING TO
               THE PLAT THEREOF, AS RECORDED IN PLAT BOOK 40 PAGE 74, OF
               THE PUBLIC RECORDS OF MIAMI DADE COUNTY

               Parcel ID: 30-3111-003-0090

               Property address: 8240 NW 15th Avenue, Miami, FL 33147 (hereinafter the
               “Property”).

       6.      The prospective stay relief granted by this Order is to CREDITOR as it relates to

the Property, such that the prospective stay relief shall apply to all future bankruptcy cases filed

by DEBTOR or any other person or entity claiming an interest in the Property, by, through, or

under DEBTOR.


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       7.      The filing of a future bankruptcy case by DEBTOR or any other person or entity

claiming an interest in the Property by, through, or under DEBTOR, for a period of 18 months

from the entry of a dismissal or conversion order of the instant case, shall not trigger the

imposition of the automatic stay under 11 U.S.C. 362, and shall not serve to stop, cancel, or

delay, the pursuit of in rem remedies under non-bankruptcy law, including but not limited to, a

tax deed sale of the Property by CREDITOR, the Miami-Dade County Clerk of Courts, or their

agents or assigns.

       8.      The fourteen (14) day stay of this Order pursuant to Bankruptcy Rule 4001(a)(3)

is waived.

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ORDER SUBMITTED BY:

Gregory R. Bel, Esq.
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Gregory R. Bel, Esq. is directed to serve a conformed copy of this Order on all interested parties
and to file with the Court a certificate of service conforming with Local Rule 2002-1(F).




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